Case 1:05-cr-10044-.]DT Document 7 Filed 07/22/05 Page 1 of 2 Page|D 7

UNITED sTATEs DISTRICT CoURT i`"`":"il;‘ BY*~~~~~~-~D-C~
WESTERN DISTRICT OF TENNESSEE
Eastern Division 05 JUL 22 PH "':`29
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UNlTED STATES OF AMERICA CLEHK U§ 193ch COUHT
WID 0§’ llt, JACKSW
_vS_ Case No. l:05¢:r10044-001T

MICHAEL ROGERS

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above~styled case, and is otherwise qualified for appointment ofoounsel. Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Aot (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
- The F ederal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
- All purposes including trial and appeal

DONE and ORDERED in lll South Highland, Jackson, TN, this 22“d day of July, 2005.

 

/K-'_-_" . _‘ ,»; ,..:
§§ //WMd M»L__
S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:
United States Attorney
United States Marshal

Pretrial Services Office
Assistant Federal Public Defender

Thls document entered on the docket she ln oompllance " *j"
with Hule 55 and!or 32(b} FRCrP on ;Z &&ll is _ - - ‘

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case l:05-CR-10044 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

M. Dianne Srnothers

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Jacl<son7 TN 38301

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Honorable J ames Todd
US DISTRICT COURT

